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               IN THE UNITED STATES DISTRICT COURT FOR THE

                          DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,     )
                              )
               Plaintiff,     )                  8:12CR27
                              )
          v.                  )
                              )
KAREN N. FAULKNER-KING,       )                      ORDER
                              )
               Defendant.     )
______________________________)


          After hearing before the Court on March 10, 2014,

          IT IS ORDERED:

          1) Defendant shall file a brief on or before April 10,

2014, concerning the enforceability of the defendant’s plea

agreement.

          2) Plaintiff shall file a brief concerning that subject

on or before April 24, 2014.

          3)   A further hearing is scheduled for:

                Wednesday, May 14, 2014, at 10:30 a.m.

in Courtroom No. 5, Roman L. Hruska United States Courthouse,

Omaha, Nebraska, or as soon thereafter as may be called by the

Court.

          DATED this 10th day of March, 2014.

                                   BY THE COURT:

                                   /s/ Lyle E. Strom
                                   _____________________________
                                   LYLE E. STROM, Senior Judge
                                   United States District Court
